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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-0070V
                                      Filed: March 2, 2017
                                         UNPUBLISHED

****************************
JAMIE SPIVAK, the parent and             *
natural guardian of a minor child, C.C., *
                                         *
                     Petitioner,         *    Joint Stipulation on Damages;
v.                                       *    Measles, Mumps, and Rubella (“MMR”)
                                         *    Vaccine; Varicella Vaccine; Immune
SECRETARY OF HEALTH                      *    Thrombocytopenia Purpura (“ITP”)
AND HUMAN SERVICES,                      *    Special Processing Unit (“SPU”)
                                         *
                     Respondent.         *
                                         *
****************************
Randall G. Knutson, Knutson & Casey Law Firm, Mankato, MN, for petitioner.
Althea W. Davis, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On January 13, 2016, Jamie Spivak (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”) on behalf of her minor child, C.C. Petitioner alleges C.C. was
diagnosed with immune thrombocytopenia purpura (“ITP”) which was caused-in-fact by
the measles, mumps, and rubella (“MMR”) vaccine C.C. received on February 5, 2013,
and the varicella vaccine C.C. received on February 28, 2013. Petition at 1, ¶¶ 4, 11;
see also Stipulation, filed Mar. 2, 2017, at ¶¶ 1-2, 4. Petitioner further alleges that C.C.
received the vaccines alleged as casual in the United States, that C.C. suffered the
residual effects of his ITP for more than six months, and that neither petitioner nor C.C.
has received compensation for C.C.’s injury alleged as vaccine caused. Petition at ¶¶
4, 11-12, 14; see also Stipulation at ¶¶ 3-5. “Respondent denies that the varicella or


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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MMR vaccine caused C.C.’s immune thrombocytopenia purpura or any other injury or
his current disabilities.” Stipulation at ¶ 6.

        Nevertheless, on March 2, 2017, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        An amount sufficient to purchase the annuity contract described in the
        stipulation (id. at ¶ 10) paid to the life insurance company, meeting the
        requirements set forth in the stipulation (id. at ¶ 9), from which the annuity
        will be purchased. Id. at ¶ 8. This amount represents compensation for all
        items of damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                    2
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